                   Case 23-11131-TMH           Doc 435        Filed 10/03/23        Page 1 of 22




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

AMYRIS, INC., et al.,                                  Case No. 23-11131 (TMH)

                                                       (Jointly Administered)
         Debtors.1


REPLY BRIEF OF LAVVAN, INC. IN OPPOSITION TO MOTION OF THE DEBTORS
 FOR INTERIM AND FINAL ORDERS (I) AUTHORIZING DEBTORS (A) TO OBTAIN
    POSTPETITION FINANCING AND (B) TO UTILIZE CASH COLLATERAL, (II)
  GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED PARTIES,
(III) MODIFYING THE AUTOMATIC STAY, (IV) SCHEDULING A FINAL HEARING,
                   AND (V) GRANTING RELATED RELIEF


                                                October 3, 2023

    Jason Cyrulnik                                           Mark D. Collins
    Paul Fattaruso                                           Russell C. Silberglied
    CYRULNIK FATTARUSO LLP                                   Emily R. Mathews
    55 Broadway, Third Floor                                 RICHARDS, LAYTON & FINGER, P.A.
    New York, NY 10006                                       920 North King Street
    Telephone: (917) 353-3005                                Wilmington, DE 19801
    Email: jcyrulnik@cf-llp.com                              Telephone: (302) 651-7815
           pfattaruso@cf-llp.com                             Email: collins@rlf.com
                                                                    silberglied@rlf.com
                                                                    mathews@rlf.com




1
  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.


RLF1 29719816v.4
                   Case 23-11131-TMH                      Doc 435           Filed 10/03/23              Page 2 of 22




                                                    TABLE OF CONTENTS

                                                                                                                                          Page

TABLE OF AUTHORITIES .......................................................................................................... ii
INTRODUCTION ...........................................................................................................................1
RESPONSE......................................................................................................................................5
   I.          LAVVAN’S AGREEMENT NOT TO “SEEK” ADEQUATE PROTECTION; DOES
               NOT RELIEVE THE COURT OF THE STATUTORY OBLIGATION TO GRANT
               PRIMING “ONLY IF ... THERE IS ADEQUATE PROTECTION.” ............................5
   II.         THE DEBTORS’ AND THE FORIS LENDERS’ NEW AUTHORITIES ARE
               IRRELEVANT. ...............................................................................................................7
   III.        PARAGRAPH 4 OF THE SUBORDINATION AGREEMENT DOES NOT
               PROHIBIT LAVVAN FROM OBJECTING TO PRIMING. .........................................8
   IV.         LAVVAN ONLY AGREED TO SUBORDINATE ONLY TO THEN EXISTING
               LENDERS WHO ENTERED INTO A SUBORDINATION AGREEMENT. ...............9
         (1)      The Language Is Phrased In The Past Tense. ..............................................................9
         (2)      The Definition Of “Permitted Senior Lender.” ..........................................................10
         (3)      The Court Should Disregard The Debtors’ Attempt To Argue Their Opinion Of The
                  Purpose Of The Subordination Agreement ................................................................12
         (4)      By The Debtors’ Own Filings, Lavvan’s Lien Was Senior To Certain Other Secured
                  Creditors.....................................................................................................................13
   V.          THE DEBTORS’ BRIEF IMPERMISSIBLY ADDRESSES ISSUES THAT THEY
               SUCCESSFULLY FOUGHT TO KEEP OUT OF THE SCHEDULING ORDER......14
   VI.         LAVVAN WOULD SUFFER DIMINUTION OF VALUE. ........................................15
   VII.        LAVVAN IS NOT BEING “OBSTRUCTIONIST” NOR CHANGING THE
               BENEFIT OF ITS BARGAIN -- THE DEBTORS AND FORIS LENDERS ARE
               DOING SO.....................................................................................................................16
CONCLUSION ..............................................................................................................................19




                                                                        i
RLF1 29719816v.4
                   Case 23-11131-TMH                    Doc 435          Filed 10/03/23             Page 3 of 22




                                              TABLE OF AUTHORITIES

                                                                                                                                Page(s)
CASES

Anchor Sav. Bank FSB v. Sky Valley, Inc.,
   99 B.R. 117 (N.D. Ga. 1989) .................................................................................................7, 8

Aurelius Cap. Master, Ltd. v. Tousa Inc.,
   Case No. 08-61317-CIV, 2009 WL 6453077 (S.D. Fla. Feb. 6, 2009) .....................................5

Davis v. Wakelee,
   156 U.S. 680 (1895) .................................................................................................................13

In re Energy Future Holdings Corp.,
    546 B.R. 566 (Bankr. D. Del. 2016) ........................................................................................15

In re Ion Media Networks Inc.,
    419 B.R. 585 (Bankr. S.D.N.Y. 2009) ...............................................................................16, 17

Med. Sales & Consulting Grp. v. Plus Orthopedics USA, Inc.,
  No. 08CV1595 BEN BGS, 2011 WL 5075970 (S.D. Cal. Oct. 25, 2011) ..............................13

Montrose Med. Grp. Participating Sav. Plan v. Bulger,
  243 F.3d 773 (3d Cir. 2001).....................................................................................................13

In re YL W. 87th Holdings I LLC,
    423 B.R. 421 (Bankr. S.D.N.Y. 2010) .......................................................................................1

STATUTES & RULES

11 U.S.C. § 364(d)(1) ..................................................................................................................2, 6

OTHER AUTHORITIES

Merriam-Webster Dictionary .........................................................................................................10




                                                                    ii
RLF1 29719816v.4
               Case 23-11131-TMH               Doc 435       Filed 10/03/23         Page 4 of 22




                                              INTRODUCTION

        In 63 combined pages of briefing, neither the Foris Lenders2 nor the Debtors have

addressed perhaps the most fundamental question: if the Subordination Agreement was meant to

preclude Lavvan from contesting DIP financing and provide its consent to being primed, why

didn’t it include a provision that expressly so stated, as the Model Agreement (which the Foris

Lenders’ brief cites to)3 says “most” subordination agreements do? The answer is simple: that is

not what it says. Despite the extraordinary relief they are requesting, Amyris and the Foris Lenders

still have not identified a single case (and Lavvan is aware of none) where a court primed a secured

creditor in the absence of an express provision consenting to DIP financing, and in reliance solely

on an agreement not to seek adequate protection.

        Both the Foris Lenders and the Debtors continue to argue that an agreement not to “seek”

adequate protection is the functional equivalent of a “waiver” of adequate protection - going so far

as to argue the counterfactual proposition that “seek” and “accept” are the same. While that is

simply wrong as a matter of the English language, it also assumes a premise that obscures a more

fundamental (if rarely litigated) concept. Under Section 363(e), adequate protection generally

means tangible things like fees, periodic payments, or replacement liens that the Court can

“provide.” But in the context of priming, adequate protection is not generally something that

courts “provide” (and that word does not appear in Section 364(d) unlike Section 363(e)); instead,

it is a question of fact, and is generally satisfied by the existence of an equity cushion. See e.g., In



2
  Capitalized terms not otherwise defined herein are intended to have the same meaning as assigned in the Opening
Brief of Lavvan, Inc. in Opposition to Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A)
to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
Secured Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 402] (the “Lavvan
Brief”).
3
  See Foris Brief, pp. 10-11 (citing Committee on Commercial Finance, ABA Section of Business Law, Report of the
Model First Lien/Second Lien Intercreditor Agreement Task Force, 65 Bus. Lawyer 809 (2010)) (also attached to
Lavvan’s opening Brief as Exhibit B).
                   Case 23-11131-TMH     Doc 435     Filed 10/03/23    Page 5 of 22




re YL W. 87th Holdings I LLC, 423 B.R. 421, 441 (Bankr. S.D.N.Y. 2010) (collecting cases) (“The

exist[ence] of an equity cushion seems to be ‘the preferred test in determining whether priming of

a senior lien is appropriate under section 364’”). In exercising their statutory obligation to

authorize priming “only if…there is adequate protection” (see 11 U.S.C. § 364(d)(1)), courts have

consistently found that the best way to assure adequate protection for a secured creditor whom the

debtor seeks to prime is to find that the secured creditor does not need further protection because

the existing equity cushion already provides sufficient protection to that creditor that its secured

rights are not being impaired by the priming. In essence, the equity cushion analysis is a finding

of fact, not a tangible thing that is “provided.” It does not even make sense to say “Lavvan will

not accept an equity cushion” or, even more nonsensically, that the turnover provision of the

Subordination Agreement means that if the Court were to find that there is adequate protection as

a result of an equity cushion, Lavvan needs to turn that cushion over to Foris.

         As a result, Amyris and the Foris Lenders now scramble to focus on a different provision

in the Subordination Agreement – paragraph 44. But that paragraph is plainly inapposite too, as it

limits Lavvan from commencing an action “in respect of any Junior Lienholder Collateral.”

Lavvan has not tried to foreclose on collateral (or moved for relief from stay to do so) or anything

of the sort. The only action it has taken is to oppose a baseless motion by noting that it has not

consented to being primed by $190 million. Limitations on actions Lavvan can take “in respect of

any Junior Lienholder Collateral” – as opposed to “in connection with its status as a secured

creditor” -- do not apply in this context.

         Foris also argues that Lavvan is not entitled to adequate protection because it supposedly

is not suffering a diminution of value since under the terms of the Subordination Agreement, its

rights in the collateral allegedly were limited. But that is plainly wrong, and there simply is no



                                                 2
RLF1 29719816v.4
                   Case 23-11131-TMH     Doc 435      Filed 10/03/23    Page 6 of 22




other way to characterize what is happening to Lavvan other than as a diminution in value: on the

Petition Date, Lavvan had a lien on Intellectual Property Collateral that, according to the Debtors,

was behind only $63.5 million. If the DIP Motion is granted, in their view Lavvan’s years-old lien

will now sit behind $253.5 million. As a matter of basic arithmetic, that is $190 million of

diminution unless it later turns out (directly contrary to what the Debtors are contending) that the

collateral is sold for the liquidated amount of Lavvan’s claim plus $253.5 million. Coupled with

the Debtors’ own argument that the Intellectual Property Collateral is not worth $253.5 million,

the Debtors’ requested relief thus threatens the complete elimination of Lavvan’s secured claim

after the Petition Date. Lavvan’s secured claim will have gone from likely having some value to,

according to the Debtor’s statements, having no value. That is grievous post-petition diminution.

         Amyris and Foris both argue that the relief they seek simply flows from the Subordination

Agreement because Foris is agreeing to subordinate to Euagore and then, by operation of the

Subordination Agreement, Lavvan will not get paid until Foris gets paid. But the relief they are

seeking is not limited to letting the Subordination Agreement have whatever effect it has; if it was,

they would not be asking this Court to grant priming rights. Instead, Foris and Amyris are

specifically demanding from this Court a priming order and using the Subordination Agreement

to justify their request.

         In the Lavvan Brief, Lavvan argued that there is substantial doubt that the 2018 Foris Loan,

which is the only loan that is subject to the Subordination Agreement, continues to be in existence

today given that every one of its major terms has been changed and that the covenant of good faith

and fair dealing prevents insider Foris from using the Subordination Agreement in the ways it has

and is now trying to do. Those are Challenge Period issues and the Challenge Period has not yet

run. The Court should not enter an order now that vitiates a Challenge by Lavvan.



                                                  3
RLF1 29719816v.4
                   Case 23-11131-TMH     Doc 435      Filed 10/03/23    Page 7 of 22




         The Debtors’ brief argues that the accountant’s analysis of changes to the 2018 Foris Loan,

which resulted in treatment as an extinguishment, “did not result in the legal cancellation of the

Debtors’ obligations to Foris.” Debtors’ Brief, p. 2 (emphasis in original). But that is a strawman:

Lavvan never argued that accounting changes “resulted” in legal cancellation of that loan. Rather,

some of the very same facts that caused the accountants to contemporaneously (before any

bankruptcy) recognize that the loan needed to be treated as extinguished also carry legal

consequences, as detailed in the Lavvan Brief. It is worth noting, moreover, that the Debtors’

Brief gets one fact materially wrong. In attempting to explain why the principal amount of the

loan kept going up rather than down, Amyris argues that “[t]he original 2018 LSA accommodated

an increase in the facility (upon request by Amyris and acceptance by GACP) by an additional $35

million (for a total loan of $71 million),” and implies that it was able to fold several unsecured

notes into the 2018 Foris LSA for that reason. See Debtors’ Brief, pp. 12-13. This leaves out a

material fact: under Amendment No. 4 to the 2018 Foris LSA, dated April 4, 2019, that very

provision was eliminated from the 2018 Foris LSA. See AMYRIS-DIP003930 et seq. (Form 8-K)

(“the Company’s ability to obtain the Incremental Term Loan Facility (as defined in the Prior 8-

K) was eliminated”) (attached here to as Exhibit A); AMYRIS-DIP002182 et seq. That occurred

before Lavvan entered into the Subordination Agreement with Foris. Thus, as Lavvan has

maintained, the only amount contemplated under the 2018 Foris LSA as of the date of the

Subordination Agreement was $36 million. This bolsters the point made in Lavvan’s opening

brief: the 2018 Foris Loan changed so dramatically thereafter that it cannot reasonably be

characterized as the same loan.

         Finally, it bears noting that while Foris argues additional (erroneous) reasons why adequate

protection should be unnecessary, no one is arguing that there is an equity cushion. There is simply



                                                  4
RLF1 29719816v.4
                   Case 23-11131-TMH            Doc 435        Filed 10/03/23         Page 8 of 22




no debate: no equity cushion exists here, which is fatal to the Debtors’ and Foris’s demand for

priming.

                                                    RESPONSE

         I.         LAVVAN’S AGREEMENT NOT TO “SEEK” ADEQUATE PROTECTION;
                    DOES NOT RELIEVE THE COURT OF THE STATUTORY OBLIGATION
                    TO GRANT PRIMING “ONLY IF ... THERE IS ADEQUATE
                    PROTECTION.”

         The Debtors and the Foris Lenders argue that Lavvan’s agreement not to “seek” adequate

protection is the same as contracting to change the requirements the Court is obligated to find to

be in existence in order to permit priming and should be read to mean that Lavvan contracted that

it would not “receive” adequate protection. See Debtors’ Brief, pp. 21-244; Foris Brief, pp. 15-

175. The Debtors go so far as to state that “there is simply no difference between ‘seeking’ and

‘accepting’ when the object of those verbs is identical” (Debtors’ Brief, p. 22). That is simply

wrong on its face as a matter of the English language; these words are simply not synonyms and

is particularly hard to reconcile with Foris’ explanation that “California law instructs that the intent

of a contract starts with the plain and ordinary meaning of the contract language.” (Foris Brief

pp.7-8).6 As set forth in the Lavvan Brief, the Subordination Agreement describes types of



4
  The “Debtors’ Brief” refers to the Opening Supplemental Brief of the Debtors in Support of Entry of Final Order (I)
Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief
[Docket No. 404].
5
  The “Foris Brief” refers to the Supplemental Brief of Euagore, LLC and the Foris Prepetition Secured Lenders With
Respect to Continued Hearing on the Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A)
to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
Secured Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 403].
6
  Indeed, Tousa, the main case cited for the Debtors’ and Foris Lender’s proposition that an agreement not to seek
adequate protection is the equivalent of an agreement not to receive adequate protection, actually proves Lavvan’s
point. The intercreditor agreement in that case provided that the junior lienholder “will not request or accept any form
of adequate protection.” Aurelius Cap. Master, Ltd. v. Tousa Inc., Case No. 08-61317-CIV, 2009 WL 6453077, at *4
(S.D. Fla. Feb. 6, 2009) (emphasis supplied). If the parties to the Subordination Agreement intended to prohibit
Lavvan from “accepting” adequate protection, they would have included the word “accept,” as was done in Tousa.
Instead, the Subordination Agreement provides only that Lavvan “agrees not to seek adequate protection”.
Subordination Agreement ¶ 6. As set forth in the Lavvan Brief, if this were a case about nonconsensual use of cash
collateral (which it is not), the inability to seek adequate protection, standing alone, would be a bar to Lavvan because

                                                           5
RLF1 29719816v.4
                   Case 23-11131-TMH             Doc 435        Filed 10/03/23          Page 9 of 22




adequate protection that Lavvan agreed not to seek: “interest, fees or other expenses in respect of

the Junior Lienholder Collateral.” Subordination Agreement ¶ 6. These tangible things are the

types of adequate protection that courts will “provide,” in the words of Section 363(e), as

compensation for use of cash collateral; they are not the finding that the Court must make in a DIP

priming dispute to determine that “there is adequate protection” under Section 364(d)(1). See

Lavvan Brief, pp. 16-21.

         The Debtors and the Foris Lenders argue that Lavvan’s objection amounts to an attempt by

Lavvan to receive adequate protection, which they argue is impermissible. Debtors’ Brief, pp. 21-

22; Foris Brief, p. 4. That is wrong for two reasons. First, it cannot be that Lavvan somehow

violates the Subordination Agreement merely by pointing out to the Court that (a) the

Subordination Agreement does not contain a consent to DIP financing, even though such a term is

common in other agreements and (b) the law requires that the Court make a factual finding that

adequate protection exists in order for the Court to have the authority to grant the requested relief.

Second, Lavvan will not “receive” anything at all. Courts almost universally hold that the standard

by which to determine if “there is adequate protection” under Section 364(d)(1) is whether an

equity cushion is in existence already. See Lavvan Brief, pp. 20-21, 35. That essentially is a

finding of fact that must be made by the Court. Lavvan cannot “receive” a finding; to articulate

the issue is to demonstrate how absurd of a concept it is.7 That is materially different from

adequate protection under Section 363(e), which the statute says the Court must “provide,” and

which is why it takes the form of tangible things that a creditor can “request” and “receive.”



Section 363(e) is phrased in a “if you don’t seek it, you don’t get it” manner. But Section 364(d) is phrased very
differently and therefore the result is different. See Lavvan Brief, pp. 19-21.
7
  For similar reasons, Amyris’s and the Foris Lenders’ argument that “any adequate protection payments or liens” that
Lavvan would receive would “automatically revert to Foris” by the terms of the Subordination Agreement also is as
nonsensical as it is irrelevant. See Debtors’ Brief, p. 11, Foris Brief, pp. 13-14. While it is true that the Subordination
Agreement contains a turnover provision, one does not and cannot turn over a finding of fact or a conclusion of law.

                                                            6
RLF1 29719816v.4
               Case 23-11131-TMH       Doc 435       Filed 10/03/23    Page 10 of 22




         Thus, setting aside the threshold fact that Lavvan never contracted to receive adequate

protection, even the question of whether or not Lavvan may “receive” adequate protection under

the Subordination Agreement is beside the point, because in the context of priming there is nothing

for Lavvan to receive. At the bottom, nothing changes the legal requirement that the Court has an

independent restriction that it can grant a requested priming order “only if…there is adequate

protection.”

         II.       THE DEBTORS’ AND THE FORIS LENDERS’ NEW AUTHORITIES ARE
                   IRRELEVANT.

         The Debtors and the Foris Lenders still have not identified any case holding that an

intercreditor agreement or subordination agreement which fails to even mention DIP financing

somehow still acts as a consent to DIP financing.

         The Foris Lenders’ primary new citation is to the Model Agreement. See Foris Brief, p.17,

n. 21. According to Foris, the Model Agreement’s adequate protection language is similar to the

language in the Subordination Agreement.        This argument misses the fact that the Model

Agreement anticipates a separate DIP financing provision that includes consent to priming --

missing from the Subordination Agreement here -- and comments that “most” intercreditor

agreements contain such language. See Lavvan Brief, p. 13 (citing Model Agreement n. 56).

Indeed, it discusses numerous variations of submissions that must be decided by the parties once

they include a DIP financing provision. Lavvan Brief, p. 15 (citing Model Agreement n. 56).

Thus, the Model Agreement does not suggest, much less provide that any adequate protection

provision can substitute for a consent to DIP financing provision.

         The only new case the Debtors cite concerning Section 364 issues is Anchor Sav. Bank

FSB v. Sky Valley, Inc., 99 B.R. 117, 122 (N.D. Ga. 1989), cited at Debtors’ Brief, p. 26, n. 36, in

an attempt to support their contention that the Court need not make a finding of adequate protection


                                                 7
RLF1 29719816v.4
                Case 23-11131-TMH      Doc 435       Filed 10/03/23   Page 11 of 22




in order to grant a priming lien. But that case does not remotely support Debtors’ position here.

For starters in Anchor Sav. Bank FSB, the Court did perform an adequate protection analysis and

found that whether there was a sizeable equity cushion for non-consenting lienholders. Id. at 123-

124. The potion of the decision that Debtors cite concerns lienholders that withdrew their

objections to a DIP financing motion, and the court merely observed that in the face of the

withdrawal of the lienholders’ objection, the debtor no longer had to demonstrate adequate

protection for those non-objecting lienholders. That of course is not the case here, as Lavvan has

not withdrawn its objection to priming.

         Similarly, the Debtors also cite numerous uncontested orders for the proposition that the

Court need not undertake an independent review to determine whether there is adequate protection

where a party consents. Debtors’ Brief, p. 27. These unremarkable orders are irrelevant because

Lavvan did not consent to priming; it only agreed not to seek adequate protection. In any event,

orders entered where the issue was not presented to the Court are of no persuasive authority.

         III.      PARAGRAPH 4 OF THE SUBORDINATION AGREEMENT DOES NOT
                   PROHIBIT LAVVAN FROM OBJECTING TO PRIMING.

         The Debtors and the Foris Lenders argue that Lavvan’s objection to priming somehow

violates Lavvan’s covenants not to “exercise any remedy with respect to any Junior Lienholder

Collateral” and not to “participate in any administrative, legal or equitable action against any

Junior Lienholder Collateral” under the Subordination Agreement. Subordination Agreement, ¶

4; see Foris Brief, pp. 18-22; Debtors’ Brief, pp. 23-24. They are wrong.

         Lavvan seeks only to avoid being primed by 550% of the amount to which it agreed to

subordinate. That is not a “remedy with respect to any Junior Lienholder Collateral,” nor an action

“against any Junior Lienholder Collateral.” Lavvan has not attempted to foreclose on collateral

(or moved from relief from stay to do so) or anything else in that vein. Nor is Lavvan seeking to


                                                 8
RLF1 29719816v.4
               Case 23-11131-TMH        Doc 435       Filed 10/03/23     Page 12 of 22




terminate exclusivity to propose a plan that sells its collateral. Those are quintessential actions

“against” or “with respect to” the “Junior Lienholder Collateral”. Lavvan objects only to being

primed by the DIP Loans -- a massive new subordination to $190 million. That might be an action

“with respect to” its status as a secured creditor, but not with respect to the collateral itself.

Accordingly, the limitations set forth in paragraph 4 of the Subordination Agreement are irrelevant

to this dispute.

         IV.       LAVVAN ONLY AGREED TO SUBORDINATE ONLY TO THEN
                   EXISTING LENDERS WHO ENTERED INTO A SUBORDINATION
                   AGREEMENT.

         As explained in the Lavvan Brief, Lavvan agreed only to subordinate its liens to any of

Amyris’s lenders as of the date of the RCLA and the Security Agreement who would agree to enter

into a subordination agreement with a specific (and unusual) term that protected Lavvan’s license.

See Lavvan Brief, pp. 23-25. The Debtors and the Foris Lenders argue, instead, that Lavvan agreed

to subordinate to any lender that would emerge in the future. In doing so, the Debtors and the

Foris Lenders ignore the licensing rights issue altogether.

         (1)       The Language is Phrased in the Past Tense.

         In support of their erroneous argument that Lavvan agreed to subordinate its lien and claims

to any future lenders, the Debtors and the Foris Lenders focus on the words “has advanced” as

used in the definition of “Permitted Senior Lender” in the Security Agreement. They argue that

“has advanced” is phrased in the present perfect tense rather than the past tense. See Foris Brief,

pp. 27-32; Debtors Brief, pp. 8-10. That concession is fatal to their argument. The “present

perfect” tense, while it contains the word “present,” is in fact “used to express a past event that has

present consequences.” https://en.wikipedia.org/wiki/Present_perfect (emphasis added).

         As stated in Lavvan’s Brief, “has advanced” is past tense language, such that “Permitted

Senior Lender” means only Foris as successor to Great American for a loan that already had been

                                                  9
RLF1 29719816v.4
               Case 23-11131-TMH        Doc 435      Filed 10/03/23    Page 13 of 22




initiated and any other lender that, as of the date of the Security Agreement, already “has advanced

debt for borrowed money.” Lavvan Brief, p. 23. Further confirmation of this interpretation comes

from the RCLA, which expressly required Amyris to enter into the Security Agreement. The

RCLA specifies that the lien Amyris must grant to Lavvan is only “junior in priority to the existing

liens and security interests of Great American and any other Permitted Senior Lender.” RCLA §

5.12.2(a) (emphasis supplied). The word “existing” is unambiguous and underscores that Lavvan

plainly did not agree to subordinate to future lenders. The Debtors’ and the Foris Lenders’ position

entirely ignores the word “existing” and is thus not a reasonable construction.

         The Debtors’ and Foris Lenders’ contention that “has advanced” is phrased in the present

perfect tense relies on the definition of that grammatical term in the Merriam-Webster Dictionary:

“an action that began in the past and is completed at the time of speaking.” See Debtors’ Brief, p.

8 n. 11; Foris Brief, p. 27. But this again actually supports Lavvan’s interpretation of who is

included in the definition of “Permitted Senior Lender.” The effective date of the Security

Agreement would be the “time of speaking” (in this case at the time of execution of the Security

Agreement), such that the “action that began in the past” and would have had to be “completed”

by then. That confirms that the definition of “Permitted Senior Lender” includes only those who

had advanced debt for borrowed money as of the effective date of the Security Agreement.

         (2)       The Definition of “Permitted Senior Lender.”

         The Debtors and the Foris Lenders also argue that Lavvan’s reading that Lavvan only

agreed to subordinate to then-existing lenders must be wrong because if it were right, they can

conceive of no reason that the Security Agreement would provide that “Permitted Senior Lender”

includes not only Foris but “any other lender who has advanced debt”; they argue that it would

have been clear who the other lenders were at that time. Foris Brief, pp. 31-32; Debtors’ Brief, p.

9-10. Here again, they are simply incorrect.

                                                10
RLF1 29719816v.4
               Case 23-11131-TMH            Doc 435         Filed 10/03/23      Page 14 of 22




         As set forth above, the requirement for the Debtors to enter into the Security Agreement

originated from the RCLA, which had been entered into 45 days prior. See RCLA § 5.12.2(a).

Because section 5.12.2(a) of the RCLA contemplates the Security Agreement and related

documents would be executed in the future (“Amyris shall grant,” not “hereby grants”), and that

the closing of the RCLA would be more than a month after it was executed, the language had to

be broad enough to cover any changes that would arise between the time of the execution and the

time of closing. That wasn’t merely caution. At this very time, Great American was considering

the sale of the 2018 Foris Loan, and the parties understood that the sale of the loan might close

before the closing of the RCLA. The language of the RCLA was drafted to include other lenders,

anticipating this likely change.

         Thus, the use of the phrase “has advanced” in the Security Agreement’s definition of

“Permitted Senior Lender,”8 referred to the point in time where the Security Agreement was

executed, which was the same date as the RCLA closing. This is further illustrated by the “Lender

Consent” closing condition under the RCLA, which uses the same defined term, “Permitted Senior

Lender.” Section 2.1 of the RCLA provides that: “Lender Consent(s)” “means any and all

necessary consents and releases by Great American and any other Permitted Senior Lender [i.e.,

the same defined term] as required by Section 5.12.” Section 5.12.1(c) of the RCLA, in turn,

requires “the specific and express release of all liens and security interests on the Amyris

Cannabinoid Foreground IP held by Great American and any other existing lien or security interest

holder.” To account for a potential change in senior lenders prior to closing, Section 2.1’s closing

condition for delivery of consents and releases could not be limited to Great American. Instead,

the definition of Permitted Senior Lender had to be defined more generally, to ensure that


8
 i.e., “Foris Ventures, LLC as successor in interest to GCAP Finance Co., LLC and any other lender who has
advanced debt for borrowed money ...”. Security Agreement Section 1.01 (emphasis supplied).

                                                       11
RLF1 29719816v.4
               Case 23-11131-TMH                Doc 435        Filed 10/03/23         Page 15 of 22




whichever lender wound up owning the 2018 Foris Loan would be required, as a closing condition,

to execute consents and releases. And in fact, as this Court is aware, that is precisely what

happened – Great American did in fact sell the 2018 Foris Loan to Foris between the RCLA

execution date and the date that the Subordination Agreement was executed, and Foris executed

the required consent. See Lavvan Brief, Exhibit A.

         To implement the requirements of the RCLA, the Security Agreement directly incorporated

the same definition of Permitted Senior Lender as required by the RCLA, other than changing

“Great American” to “Foris”. This did not convert the agreement into one whereby Lavvan agreed

to subordinate to all future lenders.9

         (3)       The Court Should Disregard the Debtors’ Attempt to Argue Their Opinion of
                   the Purpose of the Subordination Agreement

         The Debtors speculate that the purpose of Section 4.01(a) of the Security Agreement and

the RCLA was to obtain an agreement from Lavvan that it would subordinate to all future

borrowings so that the Debtors would be able to obtain financing in the future. See Debtors’ Brief

at p. 4, 8. That concept is found nowhere in the documents, and Lavvan disputes that this was ever

Lavvan’s intent or a purpose communicated to Lavvan. The Debtors’ attempt to advance that

argument is particularly improper because they vociferously and repeatedly objected to providing

Lavvan discovery of extrinsic evidence of the parties’ intent under the relevant agreements. See,

e.g., Docket No. 319 (the “Debtors’ Proposed Scheduling Order”). And in reliance on that

objection, the Court accepted the Debtors’ position and entered a version of the “Issues to be



9
  The Debtors also argue that “The RCLA obligated Lavvan to periodically affirm the junior status of its lien by
entering into a subordination agreement with any Permitted Senior Lender.” Debtors’ Brief, p. 8. The agreement says
no such thing; the words “periodically” and “affirm” nowhere appear in the agreement. See RCLA §5.12.2(c). Instead,
the key aspect of Section 5.12.2(c) is that any subordination agreement must contain the senior lender’s commitment
and obligation to honor Lavvan’s license rights if it foreclosed on the joint collateral. Id. Only one lender ever did so
– Foris, in the Subordination Agreement. Thus, this provision does nothing to aid the Debtors’ and Foris’s “present
perfect tense” argument.

                                                          12
RLF1 29719816v.4
               Case 23-11131-TMH        Doc 435       Filed 10/03/23    Page 16 of 22




Presented at Continued Hearing,” as part of the Scheduling Order, that excluded intent of the

parties from the upcoming hearing.

         Having fought successfully, to avoid discovery of extrinsic evidence or the issue of intent,

the Debtors are judicially estopped from now trying to present evidence of, or argue, their intent

outside the plain language of the four corners of the document. See, e.g., Davis v. Wakelee, 156

U.S. 680, 689 (1895) (“where a party assumes a certain position in a legal proceeding, and succeeds

in maintaining that position, he may not thereafter, simply because his interests have changed,

assume a contrary position, especially if it be to the prejudice of the party who has acquiesced in

the position formerly taken by him.”); Montrose Med. Grp. Participating Sav. Plan v. Bulger, 243

F.3d 773, 779 (3d Cir. 2001) (“judicial estoppel bars a litigant from asserting a position that is

inconsistent with one he or she previously took before a court or agency.”) The Court should not

consider the Debtors’ purported explanation of the intent of this provision.

         (4)       By the Debtors’ Own Filings, Lavvan’s Lien Was Senior to Certain Other
                   Secured Creditors.

         The Debtors’ and the Foris Lenders’ argument that Lavvan agreed to subordinate its liens

and claims to any future lenders also ignores the Debtors’ own public securities filings. The

Debtors have publicly disclosed that Lavvan’s lien has been senior to the liens of at least certain

other secured lenders. See Amyris Form 8-K dated Nov. 20, 2019; Lavvan Brief, pp. 28-29. If

the Security Agreement was designed to make Lavvan junior to any future Amyris lender, the

Debtors would not have disclosed that Lavvan was senior to other lenders in its own public filings.

Their argument now to the contrary is the type of litigation driven argument that Courts disregard

in favor of the far more probative and reliable contemporaneous pre-litigation positions. See, e.g.,

Med. Sales & Consulting Grp. v. Plus Orthopedics USA, Inc., No. 08CV1595 BEN BGS, 2011

WL 5075970, at *5 (S.D. Cal. Oct. 25, 2011) (“‘The parties’ conduct after execution and before


                                                 13
RLF1 29719816v.4
               Case 23-11131-TMH         Doc 435       Filed 10/03/23   Page 17 of 22




any controversy has arisen as to its effect affords the most reliable evidence of the parties’

intentions.’”) (quoting Kennecott Corp. v. Union Oil Co., 196 Cal. App. 3d 1179, 1189–90, 242

Cal. Rptr. 403, 410 (Ct. App. 1987)).

         V.        THE DEBTORS’ BRIEF IMPERMISSIBLY ADDRESSES ISSUES THAT
                   THEY SUCCESSFULLY FOUGHT TO KEEP OUT OF THE
                   SCHEDULING ORDER.

         In addition to the impermissible briefing of intent (see supra pp. 11-12), the Debtors’ Brief

discusses other impermissible topics. For example, for reasons unexplained, they provide their

erroneous view of the extent of Lavvan’s collateral package. See Debtors’ Brief, pp. 7-8 (“The

assets covered by the security interest are limited to the ‘background’ intellectual property owned

by Amyris as of March 2019 before the RCLA became effective, and a narrow set of subset

‘foreground’ intellectual property developed by Amyris pursuant to the activities contemplated by

the RCLA after it became effect in March 2019.”) (emphasis in original). While the Court

originally stated that the extent of Lavvan’s lien might be a relevant issue for the hearing, the

Debtors strongly objected and advocated that the extent of Lavvan’s lien should be an “Issue to be

Determined at Another Date”. See Debtors’ Proposed Scheduling Order, p. 2 (“Issues to be

Determined at Another Date: . . . the nature and extent of Lavvan’s asserted liens are not being

determined at this time ...”). The Court adopted this position in its Scheduling Order. See

Scheduling Order [Docket No. 323], p.3 (same). The Debtors cannot now be heard to reverse

course and seek to rely on their blatant misstatement of the scope of Lavvan’s lien part of their

arguments in connection with their current Motion.

         Moreover, the Debtors again attempt to assert the merits of their damages position by

arguing (as they also did at the Final DIP Hearing) that “Lavvan paid only the first $10 million of

the milestones” under the RCLA. Debtors’ Brief, p. 7. As the Debtors know, that fact is legally

irrelevant to the Arbitration, the pending SDNY IP claims, and to Lavvan’s damages. But even

                                                  14
RLF1 29719816v.4
               Case 23-11131-TMH        Doc 435       Filed 10/03/23    Page 18 of 22




that is beside the point to this priming dispute, where the issues have been cabined at the Debtors’

request and damages in the Arbitration is not one of them. The Court should disregard the Debtors’

improper (and erroneous) arguments about damages.

         VI.       LAVVAN WOULD SUFFER DIMINUTION OF VALUE.

         The Foris Lenders further assert that Lavvan is not entitled to adequate protection because

they contend that Lavvan is not suffering a diminution of the value of its interest. See Foris Brief,

p. 6. According to the Foris Lenders, this is because Lavvan purportedly agreed to unlimited future

subordination by the terms of the Subordination Agreement, so it knew its collateral would

ultimately hold little value and that collateral could not have lost any more value since the Petition

Date. Id. Setting aside the fact that Lavvan did not consent to unlimited subordination (see Lavvan

Brief, pp. 21-25; see also supra pp. 8-13), this argument also fails on its own terms.

         Lavvan’s collateral package is intellectual property, not all assets or going concern value.

See Lavvan Brief pp. 7-8; Foris Brief p. 25, Debtors’ Brief pp. 7-8. There is no evidence that the

value of the Intellectual Property Collateral would differ in a liquidation as opposed to a

reorganization or going concern sale. See Lavvan Brief, p. 37. If the Debtors had simply liquidated

rather than filed for Chapter 11 and sought DIP financing, the collateral would be worth

approximately the same and Lavvan’s lien would be behind, at most, $63.5 million. But the

priming of Lavvan by $190 million would balloon the amount by which Lavvan is subordinated

to $253.5 million. Given that the Debtors have asserted that Lavvan’s collateral package is worth

very little, the Debtors seem to believe that this priming will completely eliminate any value at all

in Lavvan’s security interest. Where the security interest has value on the Petition Date and no

longer has value afterward, that is textbook diminution of value.

         The purpose of adequate protection is to protect against diminution in value of Lavvan’s

interest occurring after the Petition Date. See In re Energy Future Holdings Corp., 546 B.R. 566,

                                                 15
RLF1 29719816v.4
                Case 23-11131-TMH       Doc 435        Filed 10/03/23    Page 19 of 22




581 (Bankr. D. Del. 2016) (“[A]dequate protection is designed to protect secured creditors against

diminution in value of their collateral. The purpose of adequate protection is to protect a secured

creditor from diminution in the value of its interest in the particular collateral during the period of

use by the debtor.”). Given the clear diminution present here, the Court has no record by which it

can conclude that “there is adequate protection” as bankruptcy law requires.

         VII.      LAVVAN IS NOT BEING “OBSTRUCTIONIST” NOR CHANGING THE
                   BENEFIT OF ITS BARGAIN -- THE DEBTORS AND FORIS LENDERS
                   ARE DOING SO.

         The suggestion in the Foris Lenders’ brief that Lavvan is somehow engaging in

“obstructionist, destabilizing and wasteful behavior,” is absurd. See Foris Brief, pp. 10-11 (citing

In re Ion Media Networks Inc., 419 B.R. 585 (Bankr. S.D.N.Y. 2009)). Lavvan emerged in this

Chapter 11 case when it learned that (a) the Debtors failed to disclose to the Court the existence

of Lavvan’s secured claims, and (b) the express representations of the Debtors and the Foris

Lenders that no one was being primed other than Foris were apparently false. Lavvan has raised

one issue: that there is no basis for entering an insider priming order, massively subordinating

Lavvan’s claim.       Indeed, the Foris Lenders’ reliance on Ion Media, to complain about

“obstructionist” behavior shows just how off base the contention is. In Ion Media, the junior

creditor purchased a discounted second lien debt “for pennies on the dollar,” and proceeded to

“us[e] aggressive bankruptcy litigation tactics […] to earn outsize returns on its bargain basement

debt purchases at the expense of the First Lien Lenders.” 419 B.R. at 588-89. The court

characterized the junior lender as “using the bankruptcy process to its own economic advantage.”

Id. at 589, n.1. The contrast to Lavvan’s actions -- doing nothing until it found out an insider was

trying to surreptitiously prime its secured claim out of existence -- could not be more clear.

         The Foris Lenders argue that the court in Ion Media “determined that the intercreditor

agreement prevented the second lien creditors from objecting to the plan even though there was

                                                  16
RLF1 29719816v.4
               Case 23-11131-TMH        Doc 435       Filed 10/03/23    Page 20 of 22




no specific language in the intercreditor agreement so stating.” Foris Brief, pp. 21-22. Not so.

The court found that the intercreditor agreement was unambiguous and that its ruling was based

on a reading of the plain language of the agreement. See 419 B.R. at 598. Indeed, the court quotes

the intercreditor agreement twice, which explicitly provides that the junior lender cannot object to

the plan but did so. Id. at 597.

         The Debtors and the Foris Lenders also assert that Lavvan is somehow trying to “extricate

itself” from the benefit if its bargain. See, e.g., Debtors’ Brief, p. 4; Foris Brief, pp. 32-33. That

characterization of Lavvan’s objection to being primed by an insider by $190 million, nearly triple

the amount Foris asserts Lavvan is currently subordinated to (a fact not conceded by Lavvan),

when the subordination agreement never once mentions the words “DIP financing” or “priming,”

is plainly wrong. Lavvan never agreed to, bargained for, or otherwise consented to be primed by

DIP Financing and no term of its agreement says otherwise. Indeed, it is the Foris Lenders who

are changing the benefit of the parties’ bargain, not Lavvan. Foris has consistently attempted to

take advantage of Lavvan by increasing the amount to the debt ahead of it -- tripling the amount

in a matter of months post-closing of the Subordination Agreement. See Lavvan Brief pp. 26-30.

The Debtors attempt to suggest that everyone always contemplated that amounts owed under the

2018 Foris Loan could be substantially increased (and therefore the subordination would be

substantially increased) by stating: the “2018 LSA accommodated an increase in the facility (upon

request by Amyris and acceptance by GACP) by an additional $35 million (for a total loan of $71

million).” Debtors’ Brief, p. 12. However, they fail to note that this very component of the original

2018 Foris Loan was eliminated prior to the execution of the Subordination Agreement. See




                                                 17
RLF1 29719816v.4
               Case 23-11131-TMH            Doc 435         Filed 10/03/23      Page 21 of 22




Exhibit A hereto.10 That fact highlights that the immediate doubling and tripling of the amount

of the 2018 Foris Loan just after the Subordination Agreement was executed was not something

Lavvan had any reason to contemplate.

         Finally, it is ironic that Lavvan is being accused of changing it position given what this

Court has seen from the Debtors and the Foris Lenders in connection with this very DIP

Motion. The Debtors had been preparing for these cases presumably for months. They formulated

their strategy for these cases, together with the Foris insiders. This strategy either completely

failed to account for Lavvan’s interest, or willfully failed to be forthright about their scheme to

eviscerate Lavvan’s interest. Either way, they both told the Court -- in the Motion and at the First

Day hearing -- that no one other than Foris was being primed, which was untrue. Now that Lavvan

has stood up for its basic rights, they have scrambled to construct a justification for the

unprecedented relief they sought surreptitiously to obtain. Counsel for Lavvan appeared at the

first day hearing, hours after having been retained, and said “we’re just here to make sure we’re

not being primed.” Nobody stood up to say “actually that’s exactly what’s happening.”

Understanding the apparent urgency of these cases, the Debtors and Foris could have clarified and

begun working to resolve or litigate the dispute. Instead, they waited until Lavvan raised the issue,

and filed replies first setting forth their position to the Cour three days before the hearing. Now

they complain that time is of the essence. The Bankruptcy Code does not authorize the relief they

have requested, and court should not reward the attempt to tie it to a manufactured emergency.




10
  In fact, the amendment which so provided, Amendment No. 4, which was signed in the period between the execution
and closing of the RCLA, explicitly amended the 2018 Foris Loan to account for Lavvan’s rights (adding certain IP
related to the RCLA to the definition of Excluded Intellectual Property).

                                                       18
RLF1 29719816v.4
               Case 23-11131-TMH       Doc 435       Filed 10/03/23   Page 22 of 22




                                         CONCLUSION

         For all of the reasons set forth herein and in the Lavvan Brief, the DIP Motion should be

denied unless it eliminates the priming of Lavvan.



Dated: October 3, 2023
                                                  Respectfully submitted,

                                                  /s/ Russell C. Silberglied
                                                  Mark D. Collins (No. 2981)
                                                  Russell C. Silberglied (No. 3462)
                                                  Emily R. Mathews (No. 6866)
                                                  RICHARDS, LAYTON & FINGER, P.A.
                                                  One Rodney Square
                                                  920 North King Street
                                                  Wilmington, Delaware 19801
                                                  Telephone: (302) 651-7700
                                                  Facsimile: (302) 651-7701
                                                  Email:      collins@rlf.com
                                                              silberglied@rlf.com
                                                              mathews@rlf.com

                                                              -and-

                                                  Jason Cyrulnik
                                                  Paul Fattaruso
                                                  CYRULNIK FATTARUSO LLP
                                                  55 Broadway, Third Floor
                                                  New York, New York 10006
                                                  Telephone: (646) 844-2466
                                                  Email:     cyrulnik@cf-llp.com
                                                             pfattaruso@cf-llp.com


                                                  Counsel for Lavvan, Inc.




                                                19
RLF1 29719816v.4
